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                      UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF GEORGIA

                             ATLANTA DIVISION

MONROE COUNTY EMPLOYEES’                ) Civil Action No. 1:17-cv-00241-WMR
RETIREMENT SYSTEM, Individually         )
and on Behalf of All Others Similarly   ) CLASS ACTION
Situated,                               ) JOINT STATUS REPORT
                         Plaintiff,     )
                                        )
        vs.                             )
                                        )
THE SOUTHERN COMPANY, et al.,
                                        )
                         Defendants.    )
                                        )




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        On March 26, 2020, the Court issued an Order directing the parties to provide a

status report on the mediation efforts the parties had undertaken, as well as provide an

update on the status of defendants’ Rule of Civil Procedure 23(f) Petition pending in

the Eleventh Circuit Court of Appeals. The parties provide the following update to

the Court:

        At the Status Conference on December 19, 2019, the parties informed the Court

that they had agreed to explore mediation of their dispute. On December 19, 2019, the

Court ordered the litigation stayed pending these mediation efforts. The stay expired

on March 31, 2020 and certain deadlines, including for the completion of fact and

expert discovery are now in place. ECF No. 165.

        1.          The parties met for an in-person mediation session on February 20, 2020

moderated by a well-respected third-party mediator. The parties were not able to

reach a resolution of their dispute that day but have continued their discussions, with

the assistance of the mediator. Those discussions have been unsuccessful.

        2.          As of the date of this Joint Status Report, defendants’ Rule 23(f) Petition

remains pending before the Eleventh Circuit.

        As the parties informed the Court at the December 19, 2019 Status Conference,

should the mediation efforts fail, upon the expiration of the stay, the parties would

commence taking depositions. However, with the current public health crisis, shelter-
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in-place orders in Georgia and California, and restrictions on social gatherings,

starting depositions as anticipated is not possible. As a result, plaintiffs respectfully

submit a separate unopposed motion following this status report requesting the Court

extend the case schedule outlined in the Court’s December 19, 2019 Order Staying the

Case Pending Mediation. ECF No. 165.

DATED: April 3, 2020                    Respectfully submitted,

                                        ROBBINS GELLER RUDMAN
                                         & DOWD LLP
                                        DANIEL S. DROSMAN
                                        DEBRA J. WYMAN
                                        DARRYL J. ALVARADO
                                        ASHLEY M. PRICE
                                        HILLARY B. STAKEM
                                        RACHEL A. COCALIS

                                                      s/ Debra J. Wyman
                                                     DEBRA J. WYMAN
                                        655 West Broadway, Suite 1900
                                        San Diego, CA 92101-8498
                                        Telephone: 619/231-1058
                                        619/231-7423 (fax)
                                        ddrosman@rgrdlaw.com
                                        debraw@rgrdlaw.com
                                        dalvarado@rgrdlaw.com
                                        aprice@rgrdlaw.com
                                        hstakem@rgrdlaw.com
                                        rcocalis@rgrdlaw.com

                                        Lead Counsel for the Class



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                                    HERMAN JONES LLP
                                    JOHN C. HERMAN
                                      (Georgia Bar No. 348370)
                                    3424 Peachtree Road, N.E., Suite 1650
                                    Atlanta, GA 30326
                                    Telephone: 404/504-6555
                                    404/504-6501 (fax)
                                    jherman@hermanjones.com
                                    Local Counsel
                                    ASHERKELLY
                                    MICHAEL J. ASHER
                                    25800 Northwestern Highway, Suite 1100
                                    Southfield, MI 48075
                                    Telephone: 248/746-2710
                                    248/747-2809 (fax)
                                    masher@asherkellylaw.com
                                    Additional Counsel

                                    JONES DAY
                                    MICHAEL J. MCCONNELL
                                    ASHLEY F. HEINTZ
                                    ROBERT A. WATTS

                                                s/ Ashley F. Heintz
                                               ASHLEY F. HEINTZ
                                    1420 Peachtree Street, N.E., Suite 800
                                    Atlanta, GA 30309
                                    Telephone: 404/581-3939
                                    404/581-8330 (fax)
                                    Attorneys for Defendants




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                         CERTIFICATE OF COMPLIANCE
        The undersigned certifies, pursuant to Local Rule 5.1(C), that this document has

been prepared in Times New Roman, 14 point, as approved by the Court.



                                                      s/ Debra J. Wyman
                                                     DEBRA J. WYMAN




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                            CERTIFICATE OF SERVICE
        I hereby certify under penalty of perjury that on April 3, 2020, I authorized the

electronic filing of the foregoing JOINT STATUS REPORT with the Clerk of the

Court using the CM/ECF system, which will deliver the document to all counsel of

record who have appeared in the action.

                                              s/ Debra J. Wyman
                                              DEBRA J. WYMAN

                                              ROBBINS GELLER RUDMAN
                                                    & DOWD LLP
                                              655 West Broadway, Suite 1900
                                              San Diego, CA 92101-8498
                                              Telephone: 619/231-1058
                                              619/231-7423 (fax)

                                              E-mail: debraw@rgrdlaw.com




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